
561 So.2d 1198 (1990)
A.J., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 89-2056.
District Court of Appeal of Florida, Third District.
March 6, 1990.
Bennett H. Brummer, Public Defender, and N. Joseph Durant, Jr., Asst. Public Defender, for appellant.
Robert A. Butterworth, Atty. Gen., and Monique T. Befeler, and Anita Gay, Asst. Attys. Gen., for appellee.
Before SCHWARTZ, C.J., and HUBBART and GERSTEN, JJ.
PER CURIAM.
Appellant, A.J., a juvenile, appeals his adjudication of delinquency based on robbery. We reverse and remand.
The victim of the robbery was sitting in an outdoor cafe with a camera hanging from his shoulder. Appellant grabbed the camera and fled. In taking the camera, appellant did not use force, violence or put the victim in fear.
Appellant asserts that the degree of force used to steal the camera was insufficient to constitute robbery. We agree. Based on the authority of S.W. v. State, 513 So.2d 1088 (Fla. 3d DCA 1987), we reverse and remand with instructions to reduce the adjudication of delinquency to petit theft.
Reversed and remanded with instructions.
